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                      Exhibit 19V
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From:             Carl_Barbier@laed.uscourts.gov
To:               richard.godfrey@kirkland.com; Mark.Holstein@bp.com; jimr@wrightroy.com; Steve Herman;
                  pjuneau@dheclaims.com; Michael Juneau
Cc:               Sally_Shushan@laed.uscourts.gov; Ben_Allums@laed.uscourts.gov
Subject:          Meeting today re non-profits and SIP
Date:             Wednesday, December 12, 2012 3:21:06 PM




Gentlemen,

This will serve to confirm our discussion this morning.

The Court discussed with counsel for BP, the PSC and the Claims
Administrator issues relating to the claims administrator's interpretation
of the economic settlement agreement as it relates to non-profit entities.
After discussion, the Court upheld the claims administrator's
interpretation as set forth in his November 30, 2012 memorandum to the
Court ("In Camera Referral of Unresolved Issue #1 - Not-for-Profits)

There was further discussion regarding the proposed Supplemental
Information Program. The Court advised the parties that it agreed with BP
that there was no need for a new website, and that the Court would not
approve the commencement of this supplemental program until it issues an
order of final approval for the settlement. The Court further instructed
the parties to meet and confer to attempt to resolve any remaining issues
with respect to the SIP.

Counsel for BP and the PSC agree with the Claims Administrator's objective
analysis of causation with respect to his evaluation of economic damage
claims, as previously set forth by Mr. Juneau in paragraph 2 of his October
10, 2012 policy announcement.

Thank you for your continued cooperation, and with wishes for a happy
holiday season,

Carl Barbier
